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                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


HAKEEM SULTAANA,                              )         CASE NO. 1:15 CV 0382
                                              )
                     Plaintiff,               )         JUDGE DONALD C. NUGENT
                                              )
v.                                            )         MAGISTRATE JUDGE
                                              )         WILLIAM H. BAUGHMAN, JR.
JOHN JERMAN, et al.,                          )
                                              )         MEMORANDUM OPINION &
                     Defendants.              )         ORDER, REPORT &
                                              )         RECOMMENDATION

                                      Introduction

       Before me by referral1 is Hakeem Sultaana’s pro se civil rights action under 42

U.S.C. ' 1983 that the Sixth Circuit has stated constitutes a single claim against two

defendants that Sultaana was improperly deprived of cash seized at his home during the

execution of a valid arrest.2

       Now pending are three motions by Sultaana:

       x   seeking the required joinder of all employees of the Cuyahoga County Sheriff=s
           Department, and all civilian ride-along personnel, who “participated” in
           arresting Sultaana;3

       x   seeking to strike the defendants’ filing4 in answer to my order of June 15, 2018,5
           on the grounds that Sultaana had not been served with that filing;6 and


1
  The matter was referred to me for general pretrial supervision by Senior United States
District Judge Donald C. Nugent. ECF No. 27.
2
  ECF No. 23 at 5.
3
  ECF No. 100.
4
  ECF No. 103.
5
  ECF No. 96.
6
  ECF No. 104.
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           x seeking a “status report” as to unidentified issues because Sultaana is
             “suffering actual prejudice” due to “all unnecessary delays.”7 This motion
             also renews a motion – for the third time – to the presiding district judge to
             vacate the referral, and further asserts that these motions are a predicate “to
             filing an original action in the Sixth Circuit Court of Appeals.”8

       For the reasons set forth below, Sultaana’s motions for joinder and to strike will be

denied. I will recommend denial of that portion of his last motion containing a request for

a status report.

                                         Analysis

A.     Joinder

       As noted before, the Sixth Circuit strictly confined this litigation to a single §1983

claim involving an improper seizure of property by two named officers while executing a

valid arrest warrant at Sultaana’s home.9 Initially, joinder under Fed. R. Civ. P. 19 – the

rule cited by Sultaana10 – “does not provide a joinder mechanism for plaintiffs, but is rather

the tool of the defendant.”11 However, a motion for joinder by the plaintiff may be

considered as made under Fed. R. Civ. P. 21.12 In either situation, “the provisions for

joinder of parties under Rules 19 and 21 are not immune from the statute of limitations.”13




7
  ECF No. 107.
8
  Id.
9
  ECF No. 23.
10
   ECF No. 100.
11
   Thompson v. Dolgencorp, LLC, et al., 304 F.R.D. 641, 642 (E.D. Oklahoma 2015)
(internal citation omitted).
12
   Id.
13
   Id. (internal citations omitted).
                                         2
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       In this instance, the applicable statute of limitations for §1983 cases brought in Ohio

is two years.14 Because this action deals with conduct incident to a 2014 arrest, and the

action itself was filed in 2015,15 expanding the case to include new additional parties would

place those parties beyond the limitations period.

       Alternatively, it may be that any new party could be shown to relate back to the date

of original filing of the case under Rule 15(c). But, as Judge Dowd explained in a matter

similar to the present action, 16 a §1983 plaintiff may not take advantage of relation back

when the new party is simply a party the plaintiff could have sued from the beginning, but

did not:

           [A]dding new, previously unknown defendants in place of “John
           Doe” defendants “is considered a change of parties, not a mere
           substitution of parties,” and “such amendments do not satisfy the
           ‘mistaken identity’ requirement of Rule 15(c).” [The plaintiff] did
           not make a mistake about the identities of the parties he intended
           to sue; he did not know who they were and apparently did not find
           out within the two-year limitations period.17

       Accordingly, inasmuch as Sultaana is in the identical position as the plaintiff in

Smith, Judge Dowd’s reasoning is fully applicable here. Sultaana’s motion for joinder18 is

denied for the reasons stated above.




14
  Walker v. City of Lakewood, 742 F. Supp. 429, 430 (N.D. Ohio 1990) (citations omitted).
15
  ECF No. 1.
16
  Smith v. City of Akron, 476 Fed. App’x 67 (N.D. Ohio 2012).
17
  Id. at 69 (internal citation omitted).
18
  ECF No. 100.
                                            3
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B.     Motion to strike

       Sultaana seeks to strike19 the response filed by defendants on July 13, 2018,20 as

required by my order.21 “Motions to strike are both disfavored under the Federal Rules of

Civil Procedure and are only appropriate as to pleadings.”22 Fed. R. Civ. P. 12(f) thus

permits a court to only strike material contained in a pleading.23 Sultaana’s motion is

therefore denied as beyond the scope of Rule 12(f) of the Federal Rules of Civil Procedure.

C.     Status report

       Although the portion of this motion seeking a revocation of the referral is committed

to the district judge, that portion of the motion seeking a status conference is addressed

here. As noted, the purported reason for both aspects of the motion is that Sultaana is

“suffering” “actual prejudice” from “all unnecessary delays.”24

       Without seeking to review the entire history of a matter filed in 201525 that has been

reviewed three times by the Sixth Circuit,26 the current status of the matter is apparent on

the face of the court’s docket. It shows a rejected attempt by this Court to appoint counsel

for Sultaana specifically to move the process along in a more orderly fashion.27 It also


19
  ECF No. 104.
20
  ECF No. 103.
21
  ECF No. 96.
22
  Meyers v. State of Ohio, No. 1:14 CV 01505, 2015 WL 1954546, at *3 (N.D. Ohio April
29, 2015) (emphasis added).
23
  Id.
24
  ECF No. 107.
25
  ECF No. 1.
26
  ECF Nos. 19, 23, 83.
27
  See ECF No. 90.
                                           4
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shows that this Court denied a request for a hearing on June 15, 2018, in a detailed order

setting out the outstanding issues and ordering the parties to provide detailed information

as to what discovery remains.28

       In the barely two months since that order, which was objected to,29 the docket sheet

shows eight filings by the parties, including the three motions by Sultaana considered here.

These motions have been addressed within 45 days of their filing.

       Based on the objective record, discussed above, there is no basis for interrupting the

process set in motion by my June order with a status conference at this time. Accordingly,

I recommend denial of that portion of Sultaana’s motion.30


Dated: 6HSWHPEHU, 2018                  s/ William H. Baughman, Jr.
                                          United States Magistrate Judge




28
  ECF No. 96.
29
  ECF No. 99.
30
  ECF No. 107.
                                             5
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                                        Objections

       Any objections to this Report and Recommendation must be filed with the Clerk of
Courts within fourteen (14) days of receipt of this notice. Failure to file objections within
the specified time waives the right to appeal the District Court’s order.31




31
  See United States v. Walters, 638 F.2d 947 (6th Cir. 1981). See also Thomas v. Arn, 474
U.S. 140 (1985), reh=g denied, 474 U.S. 1111 (1986).
                                             6
